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 5

 6 Attorneys for Plaintiff

 7

 8                                      IN THE UNITED STATES DISTRICT COURT

 9                                          EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                    CASE NO. 1:13-cr-00392-LJO-SKO
12                                          Plaintiff,            STIPULATION TO CONTINUE
                                                                  STATUS HEARING; EXCLUDABLE
13   v.                                                           TIME PERIODS UNDER SPEEDY
                                                                  TRIAL ACT; FINDINGS AND ORDER
14   BALTAZAR CASTANEDA GARCIA, et al.
15                                          Defendant,
16

17             Plaintiff United States of America, by and through its counsel of record BENJAMIN B.

18 WAGNER, United States Attorney and LAUREL J. MONTOYA, Assistant U.S. Attorney, and

19 defendants by and through their undersigned counsel of record hereby stipulate as follows:
20             1.        By previous order, this matter was set for status hearing April 6, 2015 at 1:00 p.m.

21             2.        By this stipulation, government moves to continue the status hearing to May 4, 2015

22 at 1:00 p.m., or at a time convenient to the court. Time has previously been excluded to and through

23 June 16, 2015 the date set for the jury trial in this matter. Defense counsel does not oppose this

24 request.

25             3.        The parties agree and stipulate, and request that the Court find the following:

26                       a.        Additional time is needed for formulating offers and the approval process as

27             well as investigation related to the formulation and consideration of any offer to settle the

28             matter;
                                                              1
29        Garcia, et al Stipulation and Proposed Order

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 1                    b.        The parties have agreed to continue the date for the status conference to May

 2          4, 2015;

 3                    c.        For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

 4          3161, et seq., within which trial must commence, the time period of September 29, 2014 to

 5          June 16, 2015, inclusive, has previously been excluded by the court on September 29, 2015.

 6          4.        Nothing in this stipulation and order shall preclude a finding that other provisions of

 7 the Speedy Trial Act dictate that additional time periods are excludable from the period within which

 8 a trial must commence.
 9          IT IS SO STIPULATED.

10 DATED: April 2, 2015                                              /s/ Laurel J. Montoya
                                                                     LAUREL J. MONTOYA
11                                                                   Assistant United States Attorney
12 DATED: April 2, 2015                                              /s/ David Torres
                                                                     DAVID TORRES
13                                                                   Attorney for Defendant Garcia
14 DATED: April 2, 2015                                              /s/ Nick Reyes
                                                                     NICK REYES
15                                                                   Attorney for Defendant Peraza Ruiz
16 DATED: April 2, 2015                                              /s/ E. Marshall Hodgkins
                                                                     E. MARSHALL HODGKINS
17                                                                   Attorney for Defendant Vega
18 DATED: April 2, 2015                                              /s/ Peter Jones
                                                                     PETER JONES
19                                                                   Attorney for Defendant Canchola
20

21                                                    ORDER

22          Pursuant to the parties’ Stipulation, the STATUS CONFERENCE is continued to May 4,

23 2015 at 1:00 p.m. The trial shall remain as set on June 16, 2015.

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     IT IS SO ORDERED.
25
26      Dated:       April 3, 2015                                   /s/ Sheila K. Oberto
                                                           UNITED STATES MAGISTRATE JUDGE
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29     Garcia, et al Stipulation and Proposed Order

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